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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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                                                                  :
 UNITED STATES OF AMERICA,                                        :
                                                                  :
                                                                  :   MEMORANDUM AND ORDER
                    - against -                                   :
                                                                  :
                                                                  :
 NEIL KRAMER, ISADORE A. USEROWITZ                                :
 a/k/a “Arthur Userowitz,” HAROLD WEISBERG,                       :   1:06-cr-200-ENV-CLP
 HAMAD ALI a/k/a “Ahmed Jeran,” HAMOOD                            :
 ZOKARI, NAGEEB ALDAYLAM, MOHAMMED :
 ALGAHIM a/k/a “Mohamed Kaid,” ABDULLAH                           :
 ALHABABI, SALEM AL-MERDAI, ABDO                                  :
 ALWASIA, MOHSEN HUDYIH and FATEH                                 :
 NAGI SALEH,                                                      :
                                                                  :
                                      Defendants.                 :
                                                                  :
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 VITALIANO, D.J.

          Defendant Abdullah Alhababi moves to dismiss criminal charges, brought on March 27, 2006,

 that he collected extensions of credit by extortionate means, 18 U.S.C. § 894(a), and conspired to do so,

 18 U.S.C. § 371. The only specific act relating to Alhababi charged in the now-pending superseding

 indictment is that “[o]n June 3, 2005, the defendant Abdullah Alhababi made a telephone call to

 defendant Neil Kramer in which they discussed Kramer’s possession of a debtor’s Immigration and

 Naturalization Service Permanent Resident Alien Card, commonly referred to as a ‘green card,’ as

 ensuring the debtor’s repayment of a loan issued by Kramer and Alhababi.” The United States asserts

 that the withholding of immigration and travel documents by a lender as collateral on a loan may support

 a conviction under 18 U.S.C. § 894(a)(1) – a criminal statute that carries up to a 20-year term of

 imprisonment, and which provides that “[w]hoever knowingly participates in any way, or conspires to

 do so, in the use of any extortionate means to collect or attempt to collect any extension of credit . . . shall
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 be fined under this title or imprisoned not more than 20 years, or both.” The United States’s position is

 baseless.

         First, § 894(a)(1) makes clear that “a defendant may only be convicted . . . if he knowingly plays

 some role in the extortion itself, but not if he merely performs acts that he knows will facilitate a debtor’s

 repayment of a debt being collected by extortionate means.” United States v. Scotti, 47 F.3d 1237, 1246

 (2d Cir. 1995). Here, the indictment does not allude to or even remotely suggest any conduct that could

 conceivably support a colorable allegation that Alhababi knowingly participated in an extortionate act

 to collect a debt or that he conspired to do so.

         Second, § 894(a)(1) applies to the extortionate collection of debt, as opposed to the extortionate

 extension of credit, which is an offense proscribed by a separate statute, 18 U.S.C. § 892(a). The

 legislative history of the two sections shows that the Congress intended to create two separate and

 distinct offenses:

                 EXTORTIONATE COLLECTION: Not everyone who falls into the
                 clutches of a loan shark is necessarily aware at the outset of the nature
                 of the transaction into which he has entered. Moreover, cases will arise
                 where the use of extortionate means of collection can be demonstrated
                 even though it cannot be shown that a bilateral understanding that such
                 would be the case existed at the outset. Section 894(a) covers these
                 situations by making it a criminal offense to collect an indebtedness by
                 extortionate means, regardless of how the indebtedness arose . . . .

 H.R. Conf. Rep. No. 1397, at 2028 (1968), reprinted in 1968 U.S.C.C.A.N. 2021, 2028. “[W]here

 defendants used extortionate means in the extension of a loan but did not use any extortionate means,

 explicit or implicit, in the collection of the loan-convictions under § 894 cannot stand.” United States

 v. Lore, 4 F. Supp. 2d 352, 358 (D.N.J. 1998). The Lore court went on to observe that

                 neither DiSalvo [n]or Smith, nor any other case known to this Court, has
                 taken an act that formed a violation of § 892 and used the same act as the
                 sole basis for a § 894 violation. The very fact that Congress has enacted


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                  two separate statutes – one criminalizing extortionate extension of a loan
                  and one criminalizing extortionate collection of a loan – is meaningful.
                  Under the government’s broad interpretation of § 894, virtually any time
                  a defendant violates § 892 by extending a loan using extortionate means
                  he or she would also violate § 894 without any additional conduct other
                  than receiving repayments. Indeed, the government claims it has met its
                  burden under both § 892 and § 894 at the moment of repayment because
                  Britt’s threat carried over from each offense. This interpretation,
                  however, is unrealistic because every loan agreement contemplates
                  repayment by definition, and the only circumstances under which
                  convictions under both § 892 and § 894 would not be present are those
                  where an extortionate loan is extended but where the creditor chooses
                  not to collect.

 Lore, 4 F. Supp. 2d at 357-58.1

         Third, § 894(a)(1) applies to “extortionate means,” statutorily defined as “any means which

 involves the use, or an express or implicit threat of use, of violence or other criminal means to cause

 harm to the person, reputation, or property of any person.” 18 U.S.C. § 891(7) (emphasis added).

 Second Circuit caselaw makes clear, however, that despite the statutory inclusion of “other criminal

 means,” not all criminal means constitute the type of coercion that could support a conviction under

 section 894(a)(1). See United States v. Pacione, 738 F.2d 567, 569 (2d Cir. 1984).

         In Pacione, an attorney was accused of making two usurious loans on which he took a mortgage

 and then a trust deed as security. Id. at 568. Both the mortgage and trust deed fraudulently misstated

 the loans’ terms to disguise their usurious nature. Id. The debtors understood that nonpayment would

 result in the trust deed being recorded, and that is precisely what happened when they failed to repay

 their debt. Id. The District Court dismissed the indictment, concluding that “[f]iling a usurious mortgage

 may be illegal, but it is not ‘criminal’ in the sense that the word is used in [the extortionate credit

 transactions] statute.” Id. at 569. The Second Circuit agreed. Id. In reviewing the statute’s legislative

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            At oral argument, this Court expressed concern that the superseding indictment had charged Alhababi
 under the wrong statute – § 894 rather than § 892. The United States has offered no substantive response.

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 history, Judge Pratt quoted the only recorded legislative statement of a Member of Congress specifically

 referencing the “other criminal means” language:

                 I want to make it clear that the term “other criminal means” as used in
                 this statute is intended by its authors to have a liberal construction in
                 order that we can take care of the situations which involve forcing other
                 people to do criminal activity under threat of collection of debt. The use
                 of force, express or implied, is not the sole test of an extortionate
                 extension of credit. This is an important part of the statute.

 Id. at 571 (quoting See 114 Cong. Rec. at 14391 (1968)) (emphasis added). The Second Circuit

 elaborated:

                          Our review of the legislative history convinces us that congress
                 was concerned primarily with the use of actual and threatened violence
                 by members of organized crime engaged in loan sharking and that it did
                 not intend to authorize a federal 20 year punishment for every creditor
                 who violated some other state or federal criminal statute in the process
                 of making or collecting a usurious loan. In our view, the term “other
                 criminal means” was meant to supplement the context of “violence” so
                 as to punish those who forced their non-paying victims into committing
                 crimes. We do not now attempt to ascertain the precise limits of the
                 statute, for it is sufficient to conclude that Pacione’s activities in
                 preparing and threatening to record a deed and mortgage that recited
                 false considerations, and in actually recording the deed, are beyond those
                 limits and therefore not included within the activities congress meant to
                 proscribe. Cf. Perez v. United States, 402 U.S. 146, 152-53, 91 S.Ct.
                 1357, 1360-61, 28 L. Ed.2d 686 (1971).

                         Our narrow interpretation is consistent with that previously
                 given the statute in this and other courts. Certainly, the emphasis of the
                 vast majority of prosecutions instituted under the statute is on the use of,
                 or explicit or implicit threat to use, violence to instill fear in the victim.

 Pacione, 738 F.2d at 571-72; see also Robert Suris Gen. Contractor Corp. v. New Metro. Fed. Sav. &

 Loan Assoc., 873 F.2d 1401, 1405 (11th Cir. 1989) (holding that conduct did not constitute “other

 criminal means” where is did not involve “anything akin to violent collection means”); Oak Rubber Co.

 v. Bank One, N.A., 214 F. Supp. 2d 820, 829 (N.D. Ohio 2002) (“[T]he legislative history of § 894 does



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 not allow for an interpretation of the statute that criminalizes the use of invalid liens in the demand of

 repayment of debt.”). In United States v. Natale, 526 F.2d 1160 (2d Cir. 1975), the Second Circuit

 similarly stated that

                 [a]cts or statements constitute a threat under 18 U.S.C. § 891(7) “if they
                 instill fear in the person to whom they are directed or are reasonably
                 calculated to do so in light of the surrounding circumstances . . . .” It is
                 this “calculated” use of threatening gestures or words to collect credit
                 extensions which Congress has made criminal.

 Id. at 1168 (internal citation omitted).

         The act of taking an individual’s immigration and travel documents as security on a loan is not

 the type of extortionate act to which § 894(a)(1) was intended to apply. Individuals commonly provide

 their licenses, passports, and other similar documents as security in transactions. For instance, movie

 theaters accept licenses and other forms of identification when lending headsets to the hearing impaired,

 as do municipal golf courses and bowling alleys when lending golf carts and other equipment to patrons.

 Such arrangements are not extortionate.

         Particularly insightful on this score is United States v. Allen, 127 F.3d 260 (2d Cir. 1997), a case

 involving the extortionate extension of credit statute, 18 U.S.C. § 892. In Allen, the Second Circuit

 found that the lender’s retention of “sufficient collateral” for a loan in the form of a gold chain was one

 fact that served to negate any plausible inference that the lender would use extortionate means to collect

 on the loan. Id. at 270.

         Upon concluding that it was clear from caselaw that Alhababi had been charged with a non-

 offense, his attorney promptly brought the overwhelming weight of legal authority to the attention of the

 United States. In response, “the government made clear its theory that Mr. Alhababi collected payment

 on Kramer’s loans and forwarded payment to Kramer. The government has also made clear its theory



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 that Mr. Alhababi did not use force or the threat of force to collect payment. Rather, it is the

 government’s belief that Mr. Alhababi was aware that Kramer possessed the debtor’s travel documents,

 immigration or identification papers, or leases as collateral and that this possession rendered the loan

 extortionate.” Alhababi Mem., Dec. 19, 2006, at 7. Alhababi’s attorney asked the United States to

 provide legal support for its position, and the Government provided two cases, one of which was United

 States v. Abrams, 427 F.2d 86 (2d Cir. 1970). In Abrams, the Second Circuit held that an attorney who

 had retained his client’s alien registration certificate for more than three years could be convicted of

 aiding and abetting a violation of 8 U.S.C. § 1304(e), which requires that “[e]very alien, eighteen years

 of age and over, shall at all times carry with him and have in his personal possession any certificate of

 alien registration or alien registration receipt card issued to him.” The Second Circuit held that the

 statute was not unconstitutionally vague as applied to the attorney-defendant because he “was on notice

 that such retention was illegal. In fact he was specifically instructed by an agent of the INS to return the

 forms to his clients.” Abrams, 427 F.2d at 91. It is unclear to this Court how Abrams, upholding a

 conviction under a statute that carried a maximum $100 fine and 30-day prison term, could support a

 criminal prosecution under a wholly separate extortion statute that carries a 20-year maximum prison

 term. The Second Circuit clearly held in Pacione that “other criminal means” for purposes of the

 extortionate credit statutes is not the equivalent of “any criminal means” or “all criminal means.”

 Pacione, 738 F.2d at 569.

         The United States’s legal position being clearly out of touch with relevant caselaw, Alhababi

 brought the pending motion to dismiss on December 19, 2006. In addressing Alhababi’s legal

 contentions, the United States responded in entirety as follows:

                 [T]he defendants had no right to possess official travel documents and
                 green cards issued to another and as such had no plans to seek recourse


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                 through the courts or other legitimate means to obtain repayment.
                 Further, by withholding these documents the defendants and their fellow
                 conspirators hampered the debtors’ ability to travel or seek employment
                 if necessary, thus risking harm to the person or property of those debtors.
                 Thus, as noted above, a factual issue exists which must be resolved by
                 a jury.

 United States Mem., Feb. 9, 2007, at 9. The United States cited no legal authority to support its position.

 No such authority exists.

         At oral argument, the Court asked for clarification, and the United States responded as follows:

                 There are two issues here, Your Honor. One, is that is not the sole
                 extent of the government’s claim with respect to the extortion. Again,
                 it is our position that withholding documents and injuring a person’s
                 well-being is also a basis for extortion. He’s not claiming he didn’t
                 know that was not going on. More significantly, with respect to the
                 conspiracy charge, the defendant doesn’t have to know everything that
                 every conspirator is doing, he simply has to know generally that they are
                 involved in a business that involves extortion.

 Oral Arg., Apr. 10, 2007, at 32:7-16. The United States again cited no legal authority in support of this

 statement, which runs counter to clear Second Circuit precedent – Pacione and Scotti, see supra. The

 Court, though inclined at that point to dismiss the charges against Alhababi, outlined its concerns on the

 record and requested additional briefing from the parties. The United Stated responded on May 30, 2007,

 with a 240-word letter that cites no caselaw and fails to address the issues raised by the Court at oral

 argument.

         Federal Rule of Criminal Procedure 12(b)(2) permits a criminal defendant to raise by pretrial

 motion “any defense, objection, or request that the court can determine without a trial of the general

 issue.” A court faced with a motion to dismiss must ask, first, whether the indictment states an offense,

 and second, whether the indictment is sufficiently specific to provide notice and allow the defendant to

 plead double jeopardy in a subsequent case. See United States v. Garcia, 760 F. Supp. 252, 258



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 (E.D.N.Y. 1991). Here, the overt acts contained within the superseding indictment are non-offenses with

 regard to Alhababi. The superseding indictment alleges that Alhababi was aware that another individual,

 Kramer, was holding passports and travel documents as security on loans on which Alhababi made

 collections. There is not the slightest suggestion in the superseding indictment or in any of the United

 States’s responses to defense counsel or this Court that Alhababi took part in or conspired to take part

 in any effort to collect debt by force or threats of violence. At every turn, with respect to Alhababi, the

 United States has pointed singularly and exclusively to Alhababi’s knowledge that Kramer held the

 travel documents and passports of debtors on loans that Alhababi participated in trying to collect on

 without resort to extortionate threats – or, from the United States’s perspective, extortionate threats

 additional to the holding of documents. Assuming the proof at trial comports with what the superseding

 indictment charges and the United States has represented, it would very clearly be insufficient to

 constitute a crime under 18 § 894(a)(1) or 18 U.S.C. § 371.2 Accordingly, all charges against Alhababi,

 as alleged in Counts Five and Six of the superseding indictment returned on September 29, 2006, are

 dismissed. The defendant is discharged.

         SO ORDERED.

 Dated: Brooklyn, New York
        August 15, 2007
                                                               / s / Eric N. Vitaliano
                                                               ERIC N. VITALIANO
                                                               United States District Judge




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             The Court notes that the charge under the general conspiracy statute, 18 U.S.C. § 371, was superfluous,
 given that the 18 U.S.C. § 894(a) criminalizes the underlying offense as well as the conspiracy to commit the
 underlying offense. See United States v. Smith, 464 F.2d 1129, 1134 (2d Cir. 1972); United States v. Papia, 399 F.
 Supp. 1381, 1385 (E.D. Wis. 1975).

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